Case 1:18-cr-20682-CMA Document 102 Entered on FLSD Docket 02/22/2021 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 18-20682-CR-ALTONAGA

  UNITED STATES OF AMERICA,

         Plaintiff,
  v.

  MATTHIAS KRULL,

        Defendant.
  ______________________________/

                                             ORDER

         THIS CAUSE came before the Court on Defendant, Matthias Krull’s Unopposed Motion

  for Delay Defendant’s Surrender [ECF No. 101]. Being fully advised, it is

         ORDERED AND ADJUDGED that the Motion is GRANTED.                     Defendant shall

  surrender on July 2, 2021 as directed by the United States Marshal.

         DONE AND ORDERED in Miami, Florida, this 22nd day of February, 2021.




                                                         _________________________________
                                                         CECILIA M. ALTONAGA
                                                         UNITED STATES DISTRICT JUDGE

  cc:    counsel of record
